Case 22-00769               Doc 55-2           Filed 07/11/22 Entered 07/11/22 15:07:29                                   Desc Proposed
                                                     Order Page 1 of 1



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